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 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  -o0o-
 7
     UNITED STATES OF AMERICA,           )
 8                                       )
                       Plaintiff,        )                  Case No. 2:12-cr-004-MMD-GWF
 9                                       )
                 vs.                     )                  ORDER MODIFYING BOND
10                                       )
     JERMAINE SMITH,                     )
11                                       )
                       Defendant.        )
12   ____________________________________)
13          The Court conducted a hearing on the Petition for Action on Conditions of Pretrial
14   Release (Docket #301) on March 11, 2013, and made Findings that Mr. Smith’s employment as a
15   taxi cab driver should cease and that Mr. Smith should seek and maintain employment with a
16   stable location, and in which, his hours, location, and income are verifiable by Pretrial Services.
17          IT IS ORDERED that Mr. Smith shall obtain prior approval from Pretrial Services before
18   engaging in any new line of employment.
19          IT IS FURTHER ORDERED that all other conditions of the Appearance Bond (Docket
20   #204) previously imposed remain in full effect.
21
22          DATED this 13th day of March, 2013.
23
24                                                          ___________________________________
                                                            C. W. HOFFMAN, JR.
25                                                          United States Magistrate Judge
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